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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA c
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                                     CASE NO . 04-2143 1 -C IV-JORDAN/BROW N

    EVE BARYS and DWAYNE OSTROM                                                                               -
    ex rel . UNITED STATES and the STATE OF
    FLORIDA,

                      Plaintiffs ,
    V.

    VITAS HEALTHCARE CORPORATION,
    VITAS HOSPICE SERVICES, LLC ,
    VITAS HEALTHCARE CORPORATION OF
    FLORIDA, ET AL .,

                     Defendants .


                             DEFENDANTS' MOTION TO DISMISS AND
                           MEMORANDUM OF LAW IN SUPPORT THEREOF

             Pursuant to Rules 12(b)(6) and 9(b) of the Federal Rules of Civil Procedure, Defendant s

    Vitas Healthcare Corporation, Vitas Hospice Services, LLC and Vitas Healthcare Corporation of

   Florida (collectively "Vitas"), through undersigned counsel, hereby move to dismiss the

   complaint filed by Relators Eve Barys and Dwayne Ostrom ("Complaint") .

                                                 Summary of Argumen t

            The Court should dismiss the Complaint because it falls woefully short of the pleading

   requirements for causes of action under the federal False Claims Act, 31 U .S.C. . § 3729, el seq .

   ("FCA") . In this case, two disgruntled former employees of Vitas - a national leader and pioneer

   in providing hospice care to the terminally ill - have alleged without detail that Vitas submitted

   false claims to Medicare to obtain hospice benefits . The Complaint, however, does not identify,

   let alone describe, a single allegedly false claim made by any Defendant . The submission of

   such a claim is indispensable to liability under the FCA, but this Complaint does not identify an y




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    specific instance where such a claim was made . That omission is just one of many ways that this

    Complaint violates Fed . R. Civ . P. 9(b), which heightens the pleading standards in fraud cases

    and requires a plaintiff to state "with particularity" the circumstances allegedly constituting fraud .

             Relators' failure to comply with Rule 9(b) is pa rt icularly prejudicial given the

    extraordinary ( and unfounded ) nature of Relators ' allegations .                       The gravamen of Relators'

    case is that Vitas physicians continually re-ce rtified hospice patients as eligible to receive

    Medicare hospice benefits, when in fact those patients were no longer eligible .                                 Hospice

   eligibility, however, is dependent on a physician ' s clinical judgment that a patient has a life

   expectancy of six months or less if his disease runs its normal course . 42 C .F .R. § 418 .22 ; 42

   U.S .C . § 1814 (a)(7). Relators make this allegation without identifying a single patient whom

   they contend was ineligible , let alone identifying the circumstances surrounding any such

   patient ' s condition . The need for specific patient information is critical because the process of

   determining whether a patient has a life expectancy of six months or less if the disease runs its

   normal course depends upon a physician ' s medical judgment based upon an assessment of the

   individual circumstances of the patient .                Indeed , the government agency that administers the

   benefit at issue has itself counseled that predicting life expectancy is not , and cannot be, an exac t

   science,' and that simply because a hospice patient lives beyond six months does not mean tha t

   the patient was not eligible for hospice care . See Medicare : More Beneficiaries Use Hospic e

   But For Fewer Days of Care, GAO/HEHS-00- 182, at 22 (2000) ("According to Medicar e


   1 See Preamble to Final Hospice Care Regulations, 70 Fed . Reg . 70,532, 70,542 (Nov . 22,
   2005) ("[We] recognize that prognosis is not an exact science, and that the impact of a hospice's
   services may sometimes lead to brief periods of improvement . . . . We have tried to avoid
   prescriptive time frames for discharge planning, since we have long been aware that merely the
   attention that hospice services give to a patient can have a beneficial effect, creating the
   impression that the individual may no longer be `actively dying' and therefore ineligible for the
   Medicare hospice benefit . Therefore, we cannot offer a specific number of days or weeks that a
   patient may be stable and thus not eligible .").


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program guidance to all hospices, the fact that a hospice patient lives beyond 6 months does not,

by itself, constitute grounds for a determination that the patient was never eligible for hospice

care or that Medicare does not cover services provided to the patient .").

        The "federal courts are increasingly reluctant to allow fishing expeditions by whistle-

blowers employing the FCA and hoping for federal intervention . The whistle must be blown not

only loudly, but with Rule 9(b) particularity in the complaint before the courts will listen ."

United States ex rel . Atkins v. Mcinteer, 345 F . Supp . 2d 1302, 1305 (N .D. Ala . 2004) . Relators'

FCA claims in Counts I and II fail the 9(b) particularity requirement, and should be dismissed .

The Court should likewise dismiss Relators' FCA conspiracy claim in Count 111, which not only

fails to comply with Rule 9(b), but also fails to allege an agreement and other elements of a

conspiracy .

       Finally the Court should dismiss Count IV, brought by Plaintiff Barys under the FCA's

retaliatory discharge provision . Barys does not allege that she put any Defendant, let alone each

of the Defendants, on notice of any FCA violation, and does not allege that she was fired for

having done so . Absent these essential allegations, there can be no claim for retaliatory

discharge. Count IV, like the rest of this insufficient Complaint, should be dismissed .

                                      Relators' Allegations `'

       On June 15, 2004, Relators Ostrom and Barys filed the Complaint under the FCA's qui

tam provisions .' Vitas is one of the largest hospice providers in the country, with hospic e




       Vitas strongly disputes many of Relators' allegations, but accepts them as true , as it must,
for purposes of this motion to dismiss . See, e .g., United States ex rel. Clausen v. Lab. Corp. of
Am., Inc., 290 F .3d 1301 , 1330 n .2 (11`h Cir . 2002) .

       Beyond the three named Defendants, Relators claim to be suing "all other corporations or
other legal entities in the United States of America which are owned, in whole or in part, or
operated by VITAS Healthcare Corporation ." Relators do not identify these other corporation s


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    programs in multiple states . See Compl . ¶¶ 76, 122 . Hospice care is an approach to caring for

    terminally ill individuals which provides comfort and pain relief, as opposed to curative care for

    the terminal illness .   Id. ¶ 24, 42 C .F .R . § 418.24(b) . The patient must acknowledge he is

    foregoing curative treatment . 42 C .F.R. § 418 .24(b) .

            A hospice uses an interdisciplinary team to provide physical, psychosocial, spiritual and

    emotional services to terminally ill patients and their family members . See 42 C .F .R . §§ 418 .68,

   418 .84, 418 .86, 418 .88, 418 .94, 418.202 . Hospice services may be provided in several venues,

   including the patient's home, a hospital or a designated hospice facility .            See Compl . ¶ 25 ; 42

   C .F .R . § 418 .302 . There is no limit on the duration of the Medicare hospice benefit for a given

   patient . The benefit periods consist of two initial 90-day periods and an unlimited number of 60-

   day periods . See Compl . ¶¶ 52, 57 ; 42 C .F .R . § 418 .21 . Prior to the start of a new benefit period,

   a physician must recertify that at the time of the recertification, the individual's prognosis is for a

   life expectancy of six months or less if the illness runs its normal course . Compl . ¶¶ 54, 55 ; 42

   C .F .R . § 418 .22 . Certifications and recertifications are based on the physician's clinical

   judgment . See Compl . ¶ 56 ; 42 C .F .R . § 418 .22 . While the average period of hospice care might

   be less than two months, if a patient continues to be terminally ill but is fortunate enough to

   outlive this life expectancy, he remains eligible for the Medicare hospice benefit whether he lives

   one, two or three additional years .      Medicare : More Beneficiaries Use Hospice But for Fewer

   Days of'Care, GAO/HEHS -00-182, at 12, 22, 49 (2000) .

            Barys and Ostrom are former Vitas employees and are now married to each other . Barys

   was the "Director of Admissions ." Compl . ¶ 15 . Ostrom was a "Vice President - Hospice

   Operations Support ." Id. ¶ 17 .



   or entities, make no factual allegations about them, and do not allege any basis upon which the
   named Defendants could be liable for the acts of others .


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            Allegedly based upon their knowledge as well as "information and belief," see id. ¶¶ 15,

    17, 18, these former employees allege Vitas systematically submitted false information to the

   federal government about the status of terminally-ill hospice patients in order to obtain the

   Medicare hospice benefit .' Relators do not assert that Vitas claimed money from Medicare for

   patients who had been discharged or were deceased . Instead, they contend that Vitas falsely re-

   certified hospice patients as terminally ill when in fact they were not terminally ill, and did so to

   continue receiving the Medicare hospice benefit from the government . Relators allege that Vitas

   adopted "policies and practices" designed to keep patients in the hospice program, an d

   "implemented a system to promote the re-certification of patients for the [Medicare hospic e

   bene fit] absent a physician ' s proper and conscientious clinical judgment conce rning the patients'

   prognosis ." Id. ¶¶ 86, 87 .E Relators point to incentive programs that , they say, gave employees

   an incentive to re-certify hospice patients as terminally ill without regard to their actual condition .

   Id. ¶¶ 115, 124 . Relators make sweeping allegations that Vitas has been "keeping patients in its

   program " when in fact they should no longer be receiving hospice care . The Complaint does not

   identify, by name, date, location or diagnosis, any individual patient allegedly "kept[] in the

   program " unjustifiably or allegedly re-certified without basis .

           The Complaint asse rts that Barys , at some point in time, "specifically addressed her

   conce rns about excessive [ lengths of stay ]" with "General Manager , Dian Backoff and Vic e


           Although Relators also reference Medicaid, they do not allege that Vitas submitted an y
   false claims for Medicaid benefits .

           Relators make this allegation even though their own exhibits attached to the complaint
   contradict their claims . For example, Relators' Exhibit B, an excerpt from a Vitas manual,
   instructs clearly that "the hospice Medical Director or Team Physician is required to recertify the
   patient as terminally ill based on whether or not the patient continues to have a prognosis of six
   months or less" (emphasis added) . The fact that Relators' own exhibits contradict their
   allegations demonstrates the importance of ensuring strict compliance with the requirements of
   Rule 9(b) .


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   President, Hospice Operations, Ian Viente," only to be "terminated shortly after reporting her

   concerns ."   Id. ¶¶ 138, 139 . Relators also assert that Barys "ran a Vitas report concerning

   [lengths of stay]," and had that report in a folder on her desk on the day she was fired by Vitas ."

   Id. ¶ 140 .

            The Complaint contains four counts under the FCA . Count I alleges Vitas knowingly

   presented or caused to be presented false claims for payment of hospice services which the

   government paid to its detriment, in violation of 31 U .S .C . § 3729(a)(1) . Count II alleges Vitas

   knowingly made, used, or caused to be made or used false records to have false claims for

   hospice services paid by the government, in violation of 31 U .S .C. § 3729(a)(2) . Count III

   alleges a conspiracy to violate the FCA, in violation of 31 U .S .C . § 3729(a)(3) . Count IV alleges

   retaliatory discharge under the FCA, in violation of 31 U .S .C . § 3730(h) ."

                                                   Argument

           This Court should dismiss the Complaint in its entirety . Relators' FCA claims in Counts

   I, II and III fail because Relators' allegations do not remotely meet the particularity requirements

   of Rule 9(b) . Relators' conspiracy claim in Count III suffers from additional defects, including

   the failure to allege an agreement, which is the linchpin of any conspiracy . Finally, Plaintiff

   Barys' retaliatory discharge claim in Count IV fails to state a claim because she does not allege

   the essential elements of such a claim under the FCA .

   1 . RELATORS' FALSE CLAIMS ACT ALLEGATIONS DO NOT COMPLY WITH
          RULE 9(b) .

           Claims under the FCA are subject to the heightened pleading requirement of Rule 9(b) of

   the Federal Rules of Civil Procedure . Relators have failed to comply with that rule . Most



           Relators allege they seek damages under the Florida False Claims Act, but do not includ e
   any allegations about the Act or plead any count under the Act.


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   obviously, they fail to allege, let alone with particularity, a single specific false statement or

   claim made by any Vitas entity to secure the payment of money by the government .

            A. Rule 9(b) Requires Fraud Allegations Be Pled with Particularity .

            Rule 9(b) requires that, in all claims alleging fraud, "the circumstances constituting

   fraud . . . shall be stated with particularity ." Fed . R. Civ . P . 9(b) . Sweeping and imprecise

   allegations and pleading based on "information and belief," rather than fact, that might pass

   muster in other contexts cannot survive Rule 9(b), and a failure to satisfy the pleading

   requirement of Rule 9(b) is grounds for dismissal .

            B. Relators ' Allegations of False Claims Act Violations are Subject to Rule 9(b) .

            It is well settled in this Circuit that complaints under the FCA are subject to the

   heightened pleading standard of Rule 9(b) . See, e .g., Corsello v. Lincare, Inc ., 428 F .3d 1008,

   1012 (11'x' Cir. 2005), petition,for cert. filed, 74 USLW 3588 (Apr . 6, 2006) ; Clausen, 290 F .3d

   at 1309-10 . That is so because the "act of submitting a fraudulent claim to the government is the

   sine qua non of a False Claims Act violation." Corsello, 428 F.3d at 1012 (citation omitted) .

           The Eleventh Circuit has emphasized that Rule 9(b) serves an especially critical role in

   the context of FCA violations by discouraging plaintiffs from advancing unfounded claims in

   hopes of windfall recoveries under the statute . See Clausen, 290 F .3d at 1313 n .24 ("When a

   plaintiff does not specifically plead the minimum elements of their allegation, it enables them to

   learn the complaint's bare essentials through discovery and may needlessly harm a defendants '


           Relators allege that Vitas violated sections 3729(a)(1)-(2) of the False Claims Act, which
   apply to any person who "knowingly presents, or causes to be presented, to an officer or
   employee of the United States Government . . . a false or fraudulent claim for payment or
   approval" or "knowingly makes, uses, or causes to be made or used, a false record or statement
   to get a false or fraudulent claim paid or approved by the Government[ .]" To state a cause of
   action under section 3729, a plaintiff must allege at least three elements : (1) the knowing
   submission, (2) of a claim for payment from the government, (3) that is false or fraudulent . See
   Clausen, 290 F .3d at 1311 n .19 .


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   goodwill and reputation by bringing a suit that is, at best, missing some of its core underpinnings,

   and, at worst, are baseless allegations used to extract settlements ."). The Court of Appeals has

   also emphasized that the unavailability of discovery does not preclude dismissal of an FCA

   complaint that lacks the express specificity and detail required by the rule .           See id. ; see also

   United States ex rel. Joshi v. St . Luke 's Hosp ., Inc., 441 F .3d 552, 559 (8'h Cir . 2006) (affirming

   dismissal and rejecting request to permit discovery to satisfy Rule 9(b)) ; United States ex rel .

   Karv'elas v . Melrose-Wakefield Hosp ., 360 F .3d 220, 231 (1S` Cir . 2004) (holding "that a qui tam

   relator may not present general allegations in lieu of the details of actual false claims in the hope

   that such details will emerge through subsequent discovery") ; United States ex rel . Russell v .

   Epic Healthcare Mgmt . Group . 193 F .3d 304, 309 (5`h Cir . 1999) ("[T]he False Claims Act

   grants a right of action to private citizens only if they have independently obtained knowledge of

   fraud . . . . A special relaxing of Rule 9(b) is a qui tam plaintiffs ticket to the discovery process

   that the statute itself does not contemplate .") .

           C. Rule 9 (b) Requires an FCA Relator Allege Specific Details Regarding the
                Alleged Fraud .

           As applied to FCA claims, Rule 9(b) compels a plaintiff to allege specific details about

   the defendant's fraudulent conduct, including "`facts as to time, place, and substance of the

   defendant's alleged fraud,' [and] the details of the defendants' allegedly fraudulent acts, when

   they occurred, and who engaged in them ."' Corsello, 428 F .3d at 1012 (quoting Clausen, 290

   F.3d at 1310) . The allegations supporting a FCA complaint must provide at least some of the

   .,who, what, where, when, and how" of the alleged fraudulent submissions to the government .

   See Corsello, 428 F .3d at 1013 ; see also United States ex rel. Carroll v. JFK Med. Ctr., No. 01-

   8158-Civ-Ryskamp, 2002 WL 31941007, at *4, (S .D . Fla. Nov . 15, 2002) citing Brooks v . Blue

   Cross and Blue Shield of Fla ., Inc., 116 F .3d 1364, 1371 (11`h Cir. 1997) ("Rule 9(b) is satisfie d



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    if a plaintiff pleads the following : (1) precisely what statements were made in what documents or

    oral representation or what omissions were made, and (2) the time and place of each such

    statement and the person responsible for making (or, in the case of omissions, not making) same,

    and (3) the context of such statements and the manner in which they misled the plaintiff, and (4)

    what the defendants obtained as a consequence of the fraud ."); Ziemba v . Cascade Int'l, Inc., 256

    F .3d 1194, 1202 (11 `" Cir . 2001) (same) .

            A relator must also allege facts giving an "indicia of reliability" to his claims .               See

    Corsello, 428 F .3d at 1013 ; Clausen, 290 F.3d at 1311 . A relator must allege he was in a

   position to know the falsity of the claims in question and the purpose of the defendant's scheme .

   See Corsello, 428 F .3d at 1014 .

            D . Relators ' Allegations Do Not Remotely Satisfy Rule 9(b) .

            Relators' allegations do not begin to satisfy Rule 9(b)'s particularity requirement .

   Relators fail to identify a single false claim or statement submitted to the government - by

   patient, by amount, or by invoice . Because Relators do not identify any specific false claim or

   statement, they cannot allege the additional information required, such as why the claim was

   false, when the claim was submitted, the employees who prepared and/or submitted the claim,

   and the defendant or program for which the claim was submitted . Instead, Relators rely on

   exactly the kind of vague, conclusory allegations that Rule 9(b) flatly prohibits .

            Most glaring is Relators' failure to identify any specific patient allegedly re-certified for

   hospice care without basis . Relators' entire theory is that Vitas recertified patients who were no

   longer eligible for hospice care and submitted claims for the Medicare hospice benefit associated

   with these patients . That theory is unfounded ; for present purposes, however, what matters is

   that it rests on sweeping generalizations, with none of the specificity required by Rule 9(b) .




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            Paragraph six of the Complaint illustrates this problem . Rather than offer specifics, it

   simply alleges without detail that "Vitas has knowingly, deliberately, and systematically

   overcharged federal health care programs for hospice services rendered to patients who were

   ineligible for the hospice benefits provided by those programs ." Compl . ¶ 6 . Similarly,

   paragraph 85 asserts that "Vitas submitted claims to the United States for payment for

   services rendered to patients based on the false re-certification of patients as eligible for the

    [Medicare Hospice Benefit] ." In no instance do Relators actually identify a patient

   "ineligible for the hospice benefits provided by those programs" or why Relators contend

   that any specific patient was "false[ly] re-certifi[ed] . . . as eligible for the [Medicare Hospice

   Benefit] ." Compl . ¶¶ 6, 8 5

            The Eleventh Circuit has emphasized that a relator must identify specific false claims

   allegedly submitted to the government, and cannot rely instead on generalized allegations of

   systematic behavior . In Clausen, for example, a corporate outsider alleged in his complaint

   extensive details of six "schemes" by LabCorp to conduct "unauthorized, unnecessary or

   excessive medical tests ." 290 F .3d at 1303 . According to the relator, LabCorp's desire to

   increase its testing revenue motivated the alleged "schemes" and ultimately led LabCorp to file

   false Medicare claims . Despite the relator's extensive allegations, the Eleventh Circuit upheld

   the district court's dismissal of the complaint because it did not provide any factual support for

   his conclusory assertion that false claims for payment were submitted to the government . See id.

   While the complaint was specific as to the types of alleged false claims, and even provided some

   names of patients (which Relators here do not), "no copies of a single actual bill or claim for

   payment were provided ." Id. at 1306 . As the Court succinctly stated, "[a]t most, Clausen's

   complaints raise questions about LabCorp's internal testing policies. But nowhere in the blur o f




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   facts and documents assembled by Clausen . . . can one find any allegation, stated with

   particularity , of a false claim actually being submitted to the Gove rnment." Id. at 1312 . Clausen

   is directly on point .

            Similarly, in United States ex rel. Butler v . Magellan Health Services , Inc ., 101 F .

   Supp . 2d 1365 ( M .D . Fla . 2000), the relator alleged that the defendants fraudulently extended

   the duration of patient stays without regard to medical necessity, encouraged unnecessary

   patient admissions , and then submitted false claims based upon these decisions . The

   complaint contained general allegations to the effect that administrative staff were directed to

   pressure a doctor to rescind a discharge of a patient whose discharge was medically

   appropriate , and that doctors were encouraged to lengthen patient stays . The defendant

   moved to dismiss, and the court granted the motion , holding that " [w]hile these allegations

   are illustrative of the type of fraud Plaintiff alleges , none of these facts address any false

   claim or any document bearing a false claim on the pa rt of the Defendants ."                   Id. at 1369 .

   Butler, like Clausen , is decisive here .      See also Sanderson v. HCA-The Healthcare Co ., 447

   F .3d 873, 879 (6 `' Cir . 2006), petition for cert . filed, 75 USLW 3074 (Aug . 9, 2006) (No . 06-220)

   (affirming dismissal where plaintiff failed to identify a specific false claim submitted directly to

   the government ) ; Carroll, 2002 WL 31941007 , at *4 (dismissing FCA complaint where plaintiffs

   "identified patients who could have been used to perpetuate a fraudulent overbilling scheme, but

   [] provided no facts to buttress their claims that Defendants actually used these patients for that

   purpose") .




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            Like the relators in Clausen and Butler, Relators here do not make the type of specific

   allegations that Rule 9(b) demands." Indeed , these Relators offer even less than the relator in

   Clausen , by not identifying a single patient . They (1) do not identify any patient for whom

   Defendants illegitimately sought benefits , (2) do not provide copies of any alleged illegitimate

   Medicare billings, and (3 ) do not identify the dollar amounts of any alleged illegal Medicare

   claims . See Clausen, 290 F . 3d at 1306 , 1312 ; Corsello , 428 F .3d at 1013-14 . It is simply not

   enough for plaintiffs in an FCA case to allege "systematic " behavior , or list perceived

   "incentives " to submit false claims - they must identify the actual false claims, which in this

   instance means identifying the specific patients allegedly re-ce rt ified without basis for continued

   Medicare hospice benefits . "Underlying improper practices alone are insuf ficient to state a

   claim under the False Claims Act absent allegations that a specific fraudulent claim was in

   fact submitted to the government ." Corsello, 428 F .3d at 1014 ; see also Clausen, 290 F .3d at

   1311 ("The False Claims Act does not create liability merely for a health care provider's

   disregard of Government regulations or improper internal policies unless, as a result of such

   acts, the provider knowingly asked the Government to pay amounts it does not owe .") .

           Besides not identifying specific patients, Relators improperly omit other details that

   would help identify the allegedly false claims . For example , Relators do not allege when the

   allegedly fraudulent claims were submitted . See Clausen, 290 F .3d at 1312 (affirming dismissa l


           Where 9(b) dismissals are denied or reversed, the allegations are even more specific . See,
   e.g., United States ex rel . Walker v . R&F Props. Of Lake County, Inc ., 433 F.3d 1349, 1360
   (1 1 th Cir . 2005) (in cross-appeal, affirming denial of a motion to dismiss complaint alleging the
   submission of false claims for services rendered by nurse practitioners where plaintiff, a nurse
   practitioner, alleged that clinic billed all nurse practitioner and physician assistant services as
   "incident to the service of a physician," even though the nurse practitioners and physician
   assistants treated patients at clinics when no physician was physically present in the clinic, did
   not have their own billing numbers, were told each day which physician's billing number they
   were to use, and had discussed with the clinic office manager the propriety of these practices) .



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   where plaintiff did not "allege with any specificity . . . when any actual improper claims were

   submitted to the Government" and where "[n]o actual dates were alleged . . . .''); United States ex

   rel . Bledsoe v . Cmty . Health Sys ., Inc ., 342 F .3d 634, 643 (6th Cir . 2003) (agreeing with district

   court that complaint failed to meet 9(b) requirements where, among other defects, it "failed to set

   forth dates as to the various FCA violations") ; United States ex rel . King v. Jackson County Hosp .

   Corp., No . 5 :99CV73-SPM, 2001 WL 34104925, at *9 (N .D . Fla. Aug . 17, 2001) (same) .

            Relators also fail to identify any individual responsible for the alleged fraud . See Carroll,

   2002 WL 31941007, at *5 . In Carroll, the court held that, in a fraud case against corporate

   defendants, the complaint should specify "[the representatives] who took part in the alleged

   unlawful enterprise ." The court applied this principle to dismiss the complaint even though the

   plaintiffs referred to categories of employees, such as nurses, personnel and physicians and

   named specific executives . The court took issue with the plaintiffs' failure to explain the roles

   played by individuals in these categories, stating that "[b]road references to nurses, clerk staff

   personnel, financial personnel and . . . physicians are not sufficiently detailed to conform to Rule

   9(b) pleading requirements ."          Id.   at   *6 ; see also United States ex rel . Thompson v .

   Columbia/HCA Healthcare Corp ., 125 F .3d 899, 903 (5`h Cir . 1997) (affirming dismissal of FCA

   claims regarding medically unnecessary services because plaintiff "did not identify any specific

   physicians who referred patients for medically unnecessary services or any specific claims for

   medically unnecessary services that were submitted by defendants") ; United States ex rel .

   Robinson v . Northrop Corp ., 149 F .R .D . 142, 145 (N .D . Ill . 1993) (same) . It is simply not

   enough to withstand Rule 9(b) for these Relators to allege merely that "Vitas" re-certified

   patients unjustifiably and otherwise perpetrated a fraud . See, e .g., Compl . 185 . They must, but

   do not, allege more. See also, Bledsoe, 342 F .3d at 643 ("A complaint `may not rely on blanke t




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   references to acts or omissions by all of the `defendants,' for each defendant is entitled to be

   apprised of the circumstances surrounding the fraudulent conduct with which he individually

   stands charged ."') (citation omitted) .

           Relators also fail to allege specifically where, or for which Vitas hospice program,

   allegedly fraudulent claims were submitted . Instead, they say only that "the pervasive fraud and

   false claims described herein occurred at VITAS' programs in Miami-Dade, Florida and

   Broward County, Florida and other Vitas programs elsewhere in Florida, California, Illinois,

   New Jersey, Ohio Pennsylvania and Wisconsin ." Compl . ¶ 7 . This statement is tantamount

   to an allegation that improper practices took place everywhere the defendants do business, an

   allegation much too imprecise to satisfy the pleading requirements of Rule 9(b) . See Corsello .

   428 F .3d at 1013 (allegations that improper practices took place "everywhere [defendant] does

   business throughout the statutory time period" are too vague to comply with the rule) .

           Relators' failure to allege their claims with specificity reinforces the total absence of

   any indicia of reliability for these claims . There are no allegations upon which this Court

   could conclude that Relators have a credible basis to assert the violations made in this

   sweeping Complaint . Relators merely allege that they are bringing this action based upon

   knowledge gained while employed by "Vitas" as "Director of Admissions" (Barys) and

   "Vice President - Hospice Operations Support" (Ostrom), Compl . ¶¶ 15, 17 . Relators

   certainly have not alleged any basis for their allegations that individual patients were

   recertified for continued hospice care without basis ; there is no allegation, for example, that

   these Relators participated at all in the process of determining eligibility for re-certification .

   Relators likewise do not allege that they witnessed the submission of a false claim to the

  government or were in a position to do so . This Complaint, in every way, lacks indicia o f




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   reliability . See, e .g., Corsello, 428 F .3d at 1014 (dismissing complaint where allegations that

   plaintiff was "aware" of billing practices did not provide sufficient indicia of reliability and

   were "neither particular nor factually supported") .

            The Complaint's lack of particularity renders Vitas incapable of crafting an adequate

   response or defense . The point of Rule 9(b) is that defendants should not have to confront

   fraud claims such as these unless and until the plaintiff is able to make specific allegations

   about the alleged scheme . Moreover, requiring Relators to make more precise allegations

   will facilitate resolution of this case . After all, at trial Relators will have to demonstrate, from

   a clinical standpoint, why Vitas' recertification of individual hospice patients, based upon the

   professional judgment of one or more highly skilled physicians, were so unfounded that the

   Medicare hospice benefit requests made on behalf of these patients were false ." Relators will

   never be able to make that showing without proving the kind of specific patient detail they omit

   from the Complaint . For this reason as well, the Court should apply Rule 9(b) to dismiss

   Counts I and II . '




           See, e .g., United States v . Prabhu, No. 2 :04-CV-0589-RCJ-LRL, 2006 WL 2039973, at
   * 15 (D . Nev . Jul . 20, 2006) (finding that Government failed to adduce any evidence in Medicare
   fraud action that, from a clinical standpoint, services were medically unnecessary as alleged) ;
   United States ex rel . Phillips v . Pediatric Servs . of Am., Inc ., 142 F . Supp . 2d 717, 730 (W .D .N.C .
   2001) (granting summary judgment where plaintiff failed to demonstrate that the patients did
   not have the diagnoses supplied on forms" provided to the government by doctors) .

            Nor have Relators provided enough detail to enable Vitas to prepare for discovery . The
   breadth of Relators' allegations could arguably encompass discovery of claims for all Medicare
   patients subject to a recertification of eligibility in multiple Vitas programs . The FCA does not
   provide a license for whistleblowers to root through the private records of numerous desperately
   ill patients to test their theory that some were not as ill as their physicians certified particularly
   where core allegations are "upon information and belief' . Read in this context, Defendants
   submit that Rule 9(b) protects not only defendants in health care cases, but patients and their
   families whose privacy rights are well recognized in state and federal law . Without more
   specificity, few guideposts exist to isolate or locate the particular claims Relators contend are


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    II . RELATORS' CONSPIRACY CLAIM FAILS TO ALLEGE ESSENTIAL
           ELEMENTS .

            Relators' claim in Count III that Vitas conspired to defraud the government in violation

    of the FCA's conspiracy clause suffers from the same Rule 9(b) defect as their substantive FCA

    counts, and should be dismissed on that basis . In addition, Relators do not even allege the basic

   elements of a conspiracy .

            Section 3729(a)(3) of the False Claims Act imposes liability on those who "conspire[ ] to

   defraud the government by getting a false or fraudulent claim allowed or paid ." 31 U .S .C . §

   3729(a)(3) . To state a claim under section 3729(a)(3), a plaintiff must show "(1) that the

   defendant conspired with one or more persons to get a false or fraudulent claim paid by the

   United States ; (2) that one or more of the conspirators performed any act to effect the object of

   the conspiracy ; and (3) that the United States suffered damages as a result of the false or

   fraudulent claim ." C'orsello, 428 F.3d at 1014 . The essence of a conspiracy under the Act is an

   agreement between two or more persons to commit [] fraud ." United States ex rel. Stinson et al.

   v. Provident Life & Accident Ins . Co., 721 F. Supp . 1247, 1259 (S .D. Fla. 1989) .

            Relators make just one reference to a conspiracy, alleging in Count III that "[b]y means

   of the acts described above, VITAS, its subsidiaries and affiliates conspired to defraud the

   United States Government by getting false or fraudulent claims allowed or paid ." Compl . ¶ 156 .

   There is no allegation of an agreement, let alone an agreement involving the named Defendants .

   See Carrot!, 2002 WL 31941007, at *5 (dismissing complaint where plaintiffs presented no

   factual basis for its allegation that Defendants entered into a conspiracy to defraud the

   government" and provided no allegation of an agreement); Stinson, 721 F. Supp . at 125 9



   tainted by fraud, as opposed to a patient's good fortune or salutary response to palliative care .
   Neither Vitas, nor its patients, should be dragged into federal court merely on that basis .


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    (dismissing conspiracy count "void of any allegations of an agreement") . Relators' failure to

    allege an illicit agreement is made worse by the absence of any specific allegation of an overt act

   taken in furtherance of the supposed conspiracy . See Atkins, 345 F . Supp . 2d at 1305 (dismissing

   complaint where complaint contained "very general allegation that fifteen defendants entered

   into a conspiracy to defraud the United States, but does not allege any overt act in furtherance of

   the alleged very broad conspiracy and does not allege that any defendant presented a false claim

   to an officer or employee of the United States .") .

            Where, as here, allegations of a civil conspiracy are "vague and would require

   speculation on the part of Defendants and the Court, such claims are subject to dismissal ."

   Carroll, 2002 WL 31941007, at *5 (internal citation omitted) . Taking that principle to heart, in

   Corsello the Eleventh Circuit affirmed the dismissal of a complaint where the plaintiff alleged

   that two defendants "conspired to defraud the Government," but failed to support the statement

   by specific allegations of any agreement or overt act . 428 F .3d at 1014 (finding inadequate the

   "bare legal conclusion" that defendants "conspired to defraud the Government") . This Court

   should reach the same result here .

   III. PLAINTIFF BARYS DOES NOT ALLEGE THE ELEMENTS OF A
             RETALIATORY DISCHARGE CLAIM UNDER THE FCA .

            Count IV of the Complaint, the retaliatory discharge claim brought by Barys, should be

   dismissed because Barys fails to allege essential elements of a cause of action under that

   provision .




   i I The complaint does not even clearly identify the participants in this alleged conspiracy,
   stating merely that "Vitas" (broadly defined) conspired with its subsidiaries and affiliates . Given
   Relators' apparent view that all Vitas entities are one and the same, their failure to clarify the
   participants in this conspiracy is even more problematic .




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             The FCA prohibits retaliation against an employee who engages in activity protected b y

    the FCA :

                      Any employee who is discharged, demoted, suspended, threatened,
                      harassed, or in any other manner discriminated against in the terms and
                      conditions of employment by his or her employer because of lawful acts
                      done by the employee on behalf of the employee or others in furtherance
                      of an action under this section, including investigation for, initiation of,
                      testimony for, or assistance in an action filed or to be filed under this
                      section, shall be entitled to all relief necessary to make the employee
                      whole.

    31 U .S .C . § 3730(h) . The prima facie elements of an FCA retaliation claim are (1) that the

    plaintiff engaged in protected activity . (2) that the plaintiffs employer knew about the protected

    activity, and (3) that the employer discharged or otherwise discriminated against the plaintiff as a

    result of the protected activity .        See, e .g., Robinson v . Jewish Ctr . Totii,ers, Inc ., 993 F. Supp .

    1475, 1477 (M.D. Fla. 1998) .

             To prove the first two elements of the offense a plaintiff must show a "distinct

    possibility" that an FCA claim would be filed by the employee or by the government at the time

    she engaged in the protected conduct, and that her employer was aware of that possibility . See

   Childree v . UAP/GA AG Chem, Inc., 92 F .3d 1140, 1146 (11th Cir . 1996) . Barys does not allege

   any of those facts . According to the Complaint :

             Relator, Barys, specifically addressed her concerns about excessive [lengths of
             stay] with General Manager, Dian Backoff and Vice President, Hospice
             Operations, Ian Viente . Barys was told by Backoff to `worry about your own
             business because VITAS doesn't want Medicare coming into the program again
             like they did in 1997 when they discharged 100 patients. '

             Barys was terminated shortly after reporting her concerns about excessive
             [lengths of stay] .

            Based on Barys' concerns regarding excessive [lengths of stay], Barys ran a
            VITAS report concerning [lengths of stay] . This report was in a folder on her
            desk on the day she was fired by Vitas .




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   Compl . ¶¶ 138-40 . Nowhere does Barys allege that, at the time she raised her "concerns," she

   was contemplating an FCA claim against Vitas, or that the government was contemplating such a

   claim . Nor does she allege Vitas had reason to believe that such a claim, by Barys or the

   government, was a distinct possibility . Absent these allegations, her retaliation claims fail . See

   Robertson v . Bell Helicopter Textron, Inc., 32 F .3d 948 (5`h Cir . 1994) (rejecting FCA retaliation

   claim where plaintiff voiced concerns about overcharging to his superiors, but never referred to

   the overcharging as illegal, never voiced an intention to file a qui tam claim, and never spoke to

   government officials about such a claim) ; cf. Childree, 92 F .3d at 1146 (allowing retaliation

   claim where employee had "provided extensive information about her employer's fraudulent"

   conduct to government officials) ; Mann v. Olsten Certified Healthcare Corp ., 49 F . Supp. 2d

   1307, 1314 (M .D . Ala . 1999) ("distinct possibility" test met when plaintiff had spoken with

   government auditor and auditor had informed company president about plaintiffs concerns) . All

   Barys alleges is that she notified two individuals at Vitas of unspecified "concerns" with regard

   to "excessive [lengths of stay] ." That is not enough .

           Barys also fails to allege how reporting her unspecified "concerns" resulted in her

   termination, the third element of a retaliation claim . See Mack v . Augusta-Richmond County,

   GA ., No . 05-12747, 148 Fed . Appx. 894, 897 (11'h Cir . 2005) (affirming district court's order

   granting summary judgment where plaintiff was unable to establish that his termination was

   retaliatory) ; Karvelas, 360 F .3d at 240 (same) . Barys does not allege that that she was fired for

   raising her concerns about excessive lengths of stay . Nor does she establish any link between

   her firing and the Vitas report, because Barys admits that she, not Vitas, ran the report, and does

   not allege that she provided this report to her supervisors or that her supervisors placed it on her

   desk while announcing her termination . Barys does not even allege that the unspecified person s




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    responsible for firing her knew about the "concerns" she allegedly had raised with two Vitas

    employees .

            Even when Rule 9(b) does not come into play, some pleading threshold does exist, and

    plaintiffs are prohibited from relying upon vague or conclusory allegations . See, e .g., Jackson v .

    Bellsouth Telecomms ., 372 F .3d 1250, 1262 (11`h Cir . 2004) ("Although a plaintiff is not held to

    a very high standard in a motion to dismiss for failure to state a claim, some minimal pleading

    standard does exist"') : Next Century Commc'ns Corp . v. Ellis, 318 F .3d 1023, 1025 (11`h Cir .

    2003) ("conclusory allegations, unwarranted factual deductions or legal conclusions

    masquerading as facts will not prevent dismissal") ; Marsh v. Butler County, 268 F .3d 1014, 1036

    n .16 (11th Cir . 2001) ("[U]nsupported conclusions of law or of mixed fact and law have long

   been recognized not to prevent a Rule 12(b)(6) dismissal ."). Conclusory allegations aside,

   Barys' .tactual allegations do not establish a colorable claim of retaliation, and therefore Count

   IV should be dismissed .

                                                    Conclusion

            For all of the foregoing reasons, Defendants Vitas Healthcare Corporation, Vitas Hospic e

   Services, LLC and Vitas Healthcare Corporation of Florida request that the Court grant this

   motion to dismiss and dismiss the Relators' Complaint .




   I Barys does not even allege which Defendant employed her . See Cook County v. United States
   ex rel. Chandler, 123 S . Ct. 1239, 1243 n .4 (2003) (noting that plaintiff's FCA retaliation claims
   were dismissed because the named defendant was not her employer) .


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                                        CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing was served by U .S .

   mail and facsimile on September 25, 2006 on all counsel or parties of record on the attached

   service list .




                                                       By:
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                                                                                Wl    &~

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